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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC, 1                                           Case No.: 21-30589 (MBK)

                                Debtor.                             Judge: Michael B. Kaplan


                                   MODIFIED LOCAL FORM
                         CERTIFICATION OF NO OBJECTION REGARDING
                      MONTHLY FEE STATEMENT OF BATES WHITE, LLC FOR
                   THE PERIOD OF FEBRUARY 1, 2022 THROUGH FEBRUARY 28, 2022
                                     DOCUMENT NO. 1934

The court authorized, under D.N.J. LBR 2016-3(a), the Order Establishing Procedures for Interim
Compensation and Reimbursement of Retained Professionals [Dkt. No. 761] (the “Order”), compensation to
professionals on a monthly basis. Under the Order, objections to the Monthly Fee Statement filed on April
1, 2022 were to be filed and served not later than April 15, 2022. I, Paul R. DeFilippo certify that, as of
April 18, 2022, I have reviewed the court’s docket in this case and no answer, objection, or other responsive
pleading to the above Monthly Fee Statement has been filed.


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             The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is
             501 George Street, New Brunswick, New Jersey 08933.
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Pursuant to D.N.J. LBR 2016-3, payment shall be made to the applicant upon the filing of this Certification.




 Date: April 18, 2022                                    ___/s/ Paul R. DeFilippo______________
                                                          Signature




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